Case 3:10-cr-00033-NKM         Document 179 Filed 07/26/16            Page 1 of 1     Pageid#:
                                         2720



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                              LYNCHBURG DIVISION

UNITED STATES OF AMERICA,                      ) Criminal Case No. 3:10cr00033-1
                                               )
v.                                             ) ORDER
                                               )
ANTWAN LAMAR JACKSON,                          ) By: Norman K. Moon
    Petitioner.                                ) United States District Judge

       In accordance with the memorandum opinion entered this day, it is hereby ORDERED

that Jackson’s motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255

(Docket No. 166) is DISMISSED without prejudice as successive, his motion to stay (Docket

No. 167) is DENIED as moot, and this action is STRICKEN from the active docket.

       Further, finding that Jackson has failed to make a substantial showing of the denial of a

constitutional right as required by 28 U.S.C. § 2253(c), a certificate of appealability is

DENIED.

                   26th day of July, 2016.
       ENTER: This _____
